           Case
6/9/25, 1:54 PM 1:25-cv-01224-TWP-CSW                                  Document 4-3Complaint
                                                                                       Filed    06/20/25
                                                                                             Detail                         Page 1 of 3 PageID #:
            An official website of the United States Government
                                                                              24


                                                                                                                                          Start a new complaint
                                                 (https://www.consumerfinance.gov/)

      All complaints (.)




     250330-19727209
     CLOSED


      Submitted
             STATUS                PRODUCT               ISSUE
             Submitted             Money                 Other
             to the                transfer,             transaction
             CFPB on               virtual               problem
             3/30/2025             currency,
                                   or money
                                   service




           We received your complaint. Thank you.
           We will review your complaint. Depending on what we find, we will typically:

                Send your complaint to the company for a response; or
                Send your complaint to another state or federal agency, or help you get in touch with your state or local consumer
                protection office; or
                Let you know if we need more information to continue our work.




                 YOUR COMPLAINT

                 Coinbase violated Regulation E and ETA by not providing me a provisional credit after
                 10 business and ETA by not returning the Funds back to my account after 45 day of their
                 investigation. It has been over 55 days and Coinbase still have returned my funds back
                 to my account after the unauthorized transaction on my account, for which Coinbase
                 statement that the unauthorized transaction didn't occur. I did not authorize the
                 unauthorized transaction from my account and I want the funds returned immediately. In
                 addition, Coinbase agents told promised me that my funds would be returned by the
                 end of business day on March 26, 2025, for which did not happen and I have a copied
                 conversation for the returned of funds. Thus, Coinbase agent told me that since I had
                 Coinbase One subscription, I supposed to be guaranteed the return of funds for
                 unauthorized transaction that took place on my account. I am requesting CFPB
                 investigate why Coinbase has violated the Regulation E law and ETA law by not
                 following the laws in place. Coinbase sent me an email stating unauthorized transactions
                 on Coinbase account are irreversible, for which contradicts Regulation E and Electronic
                 Transfer Act (ETA). I want the return of my funds back to my account immediately to
                 prevent further harm to me and my family. Coinbase has had my funds totalling over
                 $40,000.00, for over 3 months now and refuse to return my funds. I want CFPB to force
                 Coinbase to follow the law by returning the funds back to my account immediately
                 because the funds taken from my account was unauthorized and I want my funds back
                 immediately. Coinbase has violated the laws for unauthorized transaction and I want the
                 return of my funds immediatley.

              ATTACHMENTS
                                                    coinbase            Coinbase                  coinbase full                coinbase full            coinbase
              coinbase
                                                    032825              Help032625.pdf            conversation                 conversation from        emailed
              conversation0327257.pdf
                                                    demand              (422.8 KB)                from                         agent0327725.pdf         032725.PNG
              (189.7 KB)
                                                    letter.pdf                                    agent032625.pdf              (171.1 KB)               (78.6 KB)
                                                    (129.4                                        (127.7 KB)
                                                    KB)




https://portal.consumerfinance.gov/consumer/s/complaint-detail#500eq00000UoASnAAN                                                                                 1/3
           Case
6/9/25, 1:54 PM 1:25-cv-01224-TWP-CSW                             Document 4-3Complaint
                                                                                  Filed    06/20/25
                                                                                        Detail                        Page 2 of 3 PageID #:
         View full complaint                                            25


      Sent to company
          STATUS
          Sent to company on
          3/30/2025



         We've sent your complaint to the company, and we will let you know when they respond.

         Their response should include the steps they took, or will take, to address your complaint.

         Companies generally respond in 15 days. In some cases, the company will let you know their response is in
         progress and provide a final response in 60 days.




      Company still
       working
          STATUS
          Company response is
          in progress as of
          4/14/2025



         The company has responded that it is still working on your issue
         In some cases, companies need more time to respond. You should receive a final response within 60 days from the
         date we sent your complaint to the company.




              COMPANY'S INTERIM RESPONSE

              Dear Elbert Coleman, Our investigation into your complaint is in progress. We will
              respond when we have completed the investigation and are able to provide you with a
              resolution. Thank you for your patience and understanding. Sincerely, Julie Ann
              Coinbase Regulatory Response Team




      Litigation involved
          STATUS
          Company responded
          there is litigation
          involved on
          5/22/2025



         The company let us know it is unable to respond because your complaint involves the same issues raised in
         pending or prior litigation.




     Privacy Act Statement
     OMB #3170-0011
     Note on user experience

                    Have a question? ¿Preguntas?

https://portal.consumerfinance.gov/consumer/s/complaint-detail#500eq00000UoASnAAN                                                             2/3
           Case
6/9/25, 1:54 PM 1:25-cv-01224-TWP-CSW                    Document 4-3Complaint
                                                                         Filed    06/20/25
                                                                               Detail            Page 3 of 3 PageID #:
                  (855) 411-2372                                26
                  TTY/TTD: (855) 729-2372
                  8 a.m. to 8 p.m. ET, Monday through Friday
                  (except federal holidays). (https://www.opm.gov/policy-data-oversight/pay-leave/federal-holidays/#url=Overview)
                  More than 180 languages available.




           An official website of the United States Government




https://portal.consumerfinance.gov/consumer/s/complaint-detail#500eq00000UoASnAAN                                                   3/3
